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 1
 2 PHILLIP A. TALBERT
   United States Attorney
 3 SHELLEY D. WEGER
   Assistant United States Attorney
 4 501 I Street, Suite 10-100
   Sacramento, CA 95814
 5 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 6
   Attorneys for Plaintiff
 7 United States of America
 8

 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-00010 MCE
12
                                  Plaintiff,             AMENDED STIPULATION AND ORDER TO
13                                                       CONTINUE STATUS CONFERENCE, AND TO
                            v.                           EXCLUDE TIME UNDER SPEEDY TRIAL ACT
14
     DENNA CHAMBERS AND                                  DATE: July 6, 2017
15   STARSHEKA MIXON,                                    TIME: 9:00 a.m.
                                                         COURT: Hon. Morrison C. England, Jr.
16                                Defendants.

17
18                                                STIPULATION

19          1.      By previous order, this matter was set for status on July 6, 2017. By the Court’s own

20 motion, the status conference was continued July 13, 2017.
21          2.      By this stipulation, defendants now move to continue the status conference until

22 September 14, 2017, and to exclude time between July 6, 2017, and September 14, 2017, under Local
23 Code T4.
24          3.      The parties agree and stipulate, and request that the Court find the following:

25                  a)     The government has produced over 25,000 pages of discovery associated with this

26          case, including tax returns, bank and credit card statements, investigative reports, and other

27          documents. The government has also made electronic devices and physical evidence available

28          for review.


      AMENDED STIPULATION RE: SPEEDY TRIAL ACT;          1
      ORDER
             Case 2:16-cr-00010-TLN Document 76 Filed 06/30/17 Page 2 of 3


 1                b)     Counsel for Defendant Denna Chambers had an unexpected medical surgery on

 2        May 5, 2017, and as of June 26, 2017, is still out on medical leave and is not expected to return

 3        to work until sometime in August 2017. Since the last continuance, Defendant Chambers

 4        requested that Assistant Federal Defender Matthew Bockmon continue to represent her in this

 5        matter and therefore, the requested continuance is necessary for continuity of counsel. In

 6        addition, given the voluminous and complex nature of the discovery in this case permitting

 7        Assistant Federal Defender Matthew Bockmon to continue to represent Defendant Chambers

 8        rather than assigning a substitute Assistant Federal Defender is the most expeditious way to

 9        proceed.

10                c)     Counsel for defendants believe that failure to grant the above-requested

11        continuance would deny counsel the reasonable time necessary for effective preparation, taking

12        into account the exercise of due diligence.

13                d)     The government does not object to the continuance.

14                e)     Based on the above-stated findings, the ends of justice served by continuing the

15        case as requested outweigh the interest of the public and the defendant in a trial within the

16        original date prescribed by the Speedy Trial Act.

17                f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

18        et seq., within which trial must commence, the time period of May 11, 2017, to September 14,

19        2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv), Local Code

20        T4, because it results from a continuance granted by the Court at defendants’ request on the basis

21        of the Court’s finding that the ends of justice served by taking such action outweigh the best

22        interest of the public and the defendant in a speedy trial.

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     AMENDED STIPULATION RE: SPEEDY TRIAL ACT;          2
     ORDER
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 1          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

 5
     Dated: June 28, 2017                            PHILLIP A. TALBERT
 6                                                   United States Attorney
 7
                                                     /s/ Shelley D. Weger
 8                                                   SHELLEY D. WEGER
                                                     Assistant United States Attorney
 9
10 Dated: June 28, 2017                               /s/ Kelly Babineau
                                                      KELLY BABINEAU
11
                                                      Counsel for Defendant
12                                                    Starsheka Mixon

13
     Dated: June 28, 2017                            /s/ Linda C. Allison for Matthew Bockmon
14                                                   MATTHEW BOCKMON
                                                     Counsel for Defendant
15                                                   Denna Chambers
16
17
                                                      ORDER
18
            IT IS SO ORDERED.
19
     Dated: June 29, 2017
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      AMENDED STIPULATION RE: SPEEDY TRIAL ACT;           3
      ORDER
